Fill in this MER Cai your case: 1? | 3 | | 4

Debtor 4 Jessica Nicole Lewis: fka Jessica Woods

First Name Middle Name Last Name

 

Debtor 2

 

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: Eastern District of Missouri
Case number 19-10972
(If known)

 

 

 

Official Form 427
Cover Sheet for Reaffirmation Agreement 12/15

 

Anyone who is a party to a reaffirmation agreement may fill out and file this form. Fill it out completely, attach it to the reaffirmation agreement
and file the documents within the time set under Bankruptcy Rule 4008.

3

Cra Explain the Repayment Terms of the Reaffirmation Agreement

 

1, Who ls the creditor? Home Point Financial Corporation

Name of the creditor

 

 

2. How much is thedebt? — the date that the bankruptcy case is filed $ 99,114.00
To be paid under the reaffirmation agreement $ 99,114.00 *Payment may change
* due to escrow

$ 721.61 per month for 303 _ months (if fixed interest rate)

 

 

3. What is the Annual 3.625 0

Percentage Rate (APR) Before the bankruptcy case was filed %

of interest? (See

Bankruptcy Code Under the reaffirmation agreement 3.625 % W Fixed rate

§ 524(k)(3)(E).) L) Adjustable rate
4. Does collateral secure O No

teBHEs W Yes. Describe the collateral. 704 7th St. E.. Scott City, MO 63780

 

 

Current market value $ 112,000.00
5. Does the creditor assert
that the debt is No
nondischargeable? L) Yes. Attach an explanation of the nature of the debt and the basis for contending that the debt is nondischargeable.
6. Using information from Income and expenses reported on Schedules I| and J Income and expenses stated on the reaffirmation agreement
Schedule I: Your Income
(Official Form 1061) and
Schedule J: Your 6a. Combined monthly income from 3 3100.08 6e. Monthly income from all sources $ 2100. 0%
Expenses (Official Form line 12 of Schedule | after payroll deductions

106J), fill in the amounts.

6b. Monthly expenses from line 22c of __ 6f. Monthly expenses _
$_ 3081.8 $_ 3064 I

Schedule J

6c. Monthly payments on all — $ p 6g. Monthly payments on all —$ 0
reaffirmed debts not listed on reaffirmed debts not included in
Schedule J monthly expenses

6d. Scheduled net monthly income §$ 10. ps ) 6h. Present net monthly income $ 10. on ]
Subtract lines 6b and 6c from 6a. Subtract lines 6f and 6g from 6e.
If the total is less than 0, put the If the total is less than 0, put the
number in brackets. number in brackets.

 

 

Official Form 427 Cover Sheet for Reaffirmation Agreement page 1

 
Debtor 1

First Name Middle Name

Jessica Nicole Lewis

Case number (if known) 1 9-1 0972

Last Name

 

7. Are the income amounts
on lines 6a and 6e
different?

a
Yes.

Explain why they are different and complete line 10.

 

 

 

8. Are the expense
amounts on lines 6b
gand 6f different?

ae

Explain why they are different and complete line 10.

 

 

 

9. Is the net monthly
income in line 6h less
than 0?

wo
Lies.

A presumption of hardship arises (unless the creditor is a credit union).

Explain how the debtor will make monthly payments on the reaffirmed debt and pay other living expenses.
Complete line 10.

 

 

 

10. Debtor’s certification
about lines 7-9

If any answer on lines 7-9 is
Yes, the debtor must sign
here.

If all the answers on lines 7-9
are No, go to line 11.

x

| certify that each explanation on lines 7-9 is true and correct.

x

Signature of Debtor 2 (Spouse Only in a Joint Case)

 

 

Signature of Debtor 1

 

11. Did an attorney represent
the debtor in negotiating
the reaffirmation
agreement?

No
yes Has the attorney executed a declaration or an affidavit to support the reaffirmation agreement?
UI No

yes

 

Whoever fills out this form
must sign here.

X /s/ D.'An en ttile

Signature

| certify that the attached agreement is a true and correct copy of the reaffirmation agreement between the
parties identified on this Cover Sheet for Reaffirmation Agreement.

Date (2/ Li | 14
MM/DD/YY

D. Anthony Sottile, Authorized Agent for Creditor

Printed Name

Check one:

Q) Debtor or Debtor's Attorney
WW Creditor or Creditor's Attorney

 

 

 

Official Form 427 Cover Sheet for Reaffirmation Agreement page 2
Form 2400A (12/15)

 

Check one.

Presumption of Undue Hardship

No Presumption of Undue Hardship
See Debtor's Statement in Support of Reaffirmation,
Part II below, to determine which box to check.

 

 

 

UNITED STATES BANKRUPTCY COURT

Eastern District of Missouri

Inre Jessica Nicole Lewis: fka Jessica Woods
Debtor

, Case No. 19-10972

Chapter 7

REAFFIRMATION DOCUMENTS

Name of Creditor: Home Point Financial Corporation

 

[ | Check this box if Creditor is a Credit Union

PART I. REAFFIRMATION AGREEMENT

Reaffirming a debt is a serious financial decision. Before entering into this Reaffirmation
Agreement, you must review the important disclosures, instructions, and definitions found in Part V of
this form.

A. Brief description of the original agreement being reaffirmed:704 7th St. E., Scott City, MO 63780

For example, auto loan

 

B. AMOUNT REAFFIRMED: $ 99,114.00

 

The Amount Reaffirmed is the entire amount that you are agreeing to pay. This may include
unpaid principal, interest, and fees and costs (if any) arising on or before 11/01/2019
which is the date of the Disclosure Statement portion of this form (Part V).
See the definition of “Amount Reaffirmed” in Part V, Section C below.

C. The ANNUAL PERCENTAGE RATE applicable to the Amount Reaffirmed is 3.6250 %.
See definition of “Annual Percentage Rate” in Part V, Section C below.

This is a (check one) Fixed rate [| Variable rate

If the loan has a variable rate, the future interest rate may increase or decrease from the Annual Percentage Rate
disclosed here.
Form 2400A, Reaffirmation Documents Page 2

* Payment may change

D. Reaffirmation Agreement Repayment Terms (check and complete one): due to eserew

 

v $_ 721.61 permonth for 303 _ months starting on 11/01/2019

 

 

 

 

Describe repayment terms, including whether future payment amount(s) may be different from
the initial payment amount.

 

E. Describe the collateral, if any, securing the debt:

Description: 704 7th St. E., Scott City, MO 63780
Current Market Value $ 112,000.00

 

 

F. Did the debt that is being reaffirmed arise from the purchase of the collateral described above?

 

V | Yes. What was the purchase price for the collateral? g 112,000.00

 

 

No. What was the amount of the original loan? $

 

 

 

G. Specify the changes made by this Reaffirmation Agreement to the most recent credit terms on the reaffirmed
debt and any related agreement:

 

Terms as of the Terms After * Payment may change
Date of Bankruptcy Reaffirmation due to escrow
Balance due (including
fees and costs) $ 99,114.00 $ 99,114.00
Annual Percentage Rate 3.6250 % 3.6250 %
Monthly Payment $ 721.61 * $ 721.61*
H. Check this box if the creditor is agreeing to provide you with additional future credit in connection with

 

 

 

this Reaffirmation Agreement. Describe the credit limit, the Annual Percentage Rate that applies to
future credit and any other terms on future purchases and advances using such credit:

PART I. DEBTOR’S STATEMENT IN SUPPORT OF REAFFIRMATION AGREEMENT

A. Were you represented by an attorney during the course of negotiating this agreement?
ff

Check one. f Yes | |No

B. Is the creditor a credit union?

 

 

 

 

 

 

 

 

 

Check one. Yes [v] No

 
Form 2400A, Reaffirmation Documents Page 3

C. If your answer to EITHER question A. or B. above is “No,” complete 1. and 2. below.
1. Your present monthly income and expenses are:

a. Monthly income from all sources after payroll deductions

(take-home pay plus any other income) $ 3100.06
b. Monthly expenses (including all reaffirmed debts except

this one) $ 2368.30
c. Amount available to pay this reaffirmed debt (subtract b. from a.) $ dL. vg
d. Amount of monthly payment required for this reaffirmed debt $ THLGI

If the monthly payment on this reaffirmed debt (line d.) is greater than the amount you have available to
pay this reaffirmed debt (line c.), you must check the box at the top of page one that says “Presumption
of Undue Hardship.” Otherwise, you must check the box at the top of page one that says “No
Presumption of Undue Hardship.”

2. You believe that this reaffirmation agreement will not impose an undue hardship on you or your
dependents because:

Check one of the two statements below, if applicable:

 

- ; ;
iz You can afford to make the payments on the reaffirmed debt because your monthly income is
greater than your monthly expenses even after you include in your expenses the monthly
payments on all debts you are reaffirming, including this one.

 

You can afford to make the payments on the reaffirmed debt even though your monthly income
is less than your monthly expenses after you include in your expenses the monthly payments on
all debts you are reaffirming, including this one, because:

 

 

 

Use an additional page if needed for a full explanation.

D. If your answers to BOTH questions A. and B. above were “Yes,” check the following
statement, if applicable:

[| You believe this Reaffirmation Agreement is in your financial interest and you can afford to
make the payments on the reaffirmed debt.

Also, check the box at the top of page one that says “No Presumption of Undue Hardship.”
Form 2400A, Reaffirmation Documents Page 4

PART III. CERTIFICATION BY DEBTOR(S) AND SIGNATURES OF PARTIES
I hereby certify that:
(1) I agree to reaffirm the debt described above.
(2) Before signing this Reaffirmation Agreement, I read the terms disclosed in this Reaffirmation
Agreement (Part I) and the Disclosure Statement, Instructions and Definitions included in Part V

below;

(3) The Debtor’s Statement in Support of Reaffirmation Agreement (Part II above) is true and
complete;

(4) I am entering into this agreement voluntarily and am fully informed of my rights and
responsibilities; and

(5) I have received a copy of this completed and signed Reaffirmation Documents form.

SIGNATURKE(S) (If this is a joint meee debtors must sign.):
Date 12 }o | 1A Signature

Debtor
Date Signature WA
Cf

 

Joint Debtor, if any

Reaffirmation Agreement Terms Accepted by Creditor:
c/o Sottile & Barile

 

 

 

 

Creditor Home Point Financial Corporation 394 Wards Corner Road, Suite 180, Loveland, OH 45140
Print Name KZ 9 Address
D. Anthony Sottile, Authorized Agent /s/ D=Anthony Sottile (z| 24 big
Print Name of Representative Signature UDatel

PART IV. CERTIFICATION BY DEBTOR’S ATTORNEY (IF ANY)

To be filed only if the attorney represented the debtor during the course of negotiating this agreement.

I hereby certify that: (1) this agreement represents a fully informed and voluntary agreement by the debtor; (2)
this agreement does not impose an undue hardship on the debtor or any dependent of the debtor; and (3) I have
fully advised the debtor of the legal effect and consequences of this agreement and any default under this
agreement.

[Ja presumption of undue hardship has been established with respect to this agreement. In my opinion,
however, the debtor is able to make the required payment.

Check box, if the presumption of undue hardship box is checked on page I and the creditor is not a Credit
Union.

\
Date hia \“ Signature of Debtor’s Attorney
Print Name of Debtor’s Attorney SLU DoYm {\ AC

 
Form 2400A, Reaffirmation Documents Page 5

PART V. DISCLOSURE STATEMENT AND INSTRUCTIONS TO DEBTOR(S)

Before agreeing to reaffirm a debt, review the terms disclosed in the Reaffirmation Agreement (Part I
above) and these additional important disclosures and instructions.

Reaffirming a debt is a serious financial decision. The law requires you to take certain steps to make sure the
decision is in your best interest. If these steps, which are detailed in the Instructions provided in Part V, Section
B below, are not completed, the Reaffirmation Agreement is not effective, even though you have signed it.

A.

DISCLOSURE STATEMENT

What are your obligations if you reaffirm a debt? A reaffirmed debt remains your personal legal
obligation to pay. Your reaffirmed debt is not discharged in your bankruptcy case. That means that if
you default on your reaffirmed debt after your bankruptcy case is over, your creditor may be able to take
your property or your wages. Your obligations will be determined by the Reaffirmation Agreement,
which may have changed the terms of the original agreement. If you are reaffirming an open end credit
agreement, that agreement or applicable law may permit the creditor to change the terms of that
agreement in the future under certain conditions.

Are you required to enter into a reaffirmation agreement by any law? No, you are not required to
reaffirm a debt by any law. Only agree to reaffirm a debt if it is in your best interest. Be sure you can
afford the payments that you agree to make.

What if your creditor has a security interest or lien? Your bankruptcy discharge does not eliminate
any lien on your property. A ‘‘lien’’ is often referred to as a security interest, deed of trust, mortgage, or
security deed. The property subject to a lien is often referred to as collateral. Even if you do not
reaffirm and your personal liability on the debt is discharged, your creditor may still have a right under
the lien to take the collateral if you do not pay or default on the debt. If the collateral is personal
property that is exempt or that the trustee has abandoned, you may be able to redeem the item rather
than reaffirm the debt. To redeem, you make a single payment to the creditor equal to the current value
of the collateral, as the parties agree or the court determines.

How soon do you need to enter into and file a reaffirmation agreement? If you decide to enter into
a reaffirmation agreement, you must do so before you receive your discharge. After you have entered
into a reaffirmation agreement and all parts of this form that require a signature have been signed, either
you or the creditor should file it as soon as possible. The signed agreement must be filed with the court
no later than 60 days after the first date set for the meeting of creditors, so that the court will have time
to schedule a hearing to approve the agreement if approval is required. However, the court may extend
the time for filing, even after the 60-day period has ended.

Can you cancel the agreement? You may rescind (cancel) your Reaffirmation Agreement at any time
before the bankruptcy court enters your discharge, or during the 60-day period that begins on the date
your Reaffirmation Agreement is filed with the court, whichever occurs later. To rescind (cancel) your
Reaffirmation Agreement, you must notify the creditor that your Reaffirmation Agreement is rescinded
(or canceled). Remember that you can rescind the agreement, even if the court approves it, as long as
you rescind within the time allowed.
Form 2400A, Reaffirmation Documents Page 6

6. When will this Reaffirmation Agreement be effective?

a. If you were represented by an attorney during the negotiation of your Reaffirmation
Agreement and

i. if the creditor is not a Credit Union, your Reaffirmation Agreement becomes effective when
it is filed with the court unless the reaffirmation is presumed to be an undue hardship. If the
Reaffirmation Agreement is presumed to be an undue hardship, the court must review it and may
set a hearing to determine whether you have rebutted the presumption of undue hardship.

il. if the creditor is a Credit Union, your Reaffirmation Agreement becomes effective when it
1s filed with the court.

b. If you were not represented by an attorney during the negotiation of your Reaffirmation
Agreement, the Reaffirmation Agreement will not be effective unless the court approves it. To have the
court approve your agreement, you must file a motion. See Instruction 5, below. The court will notify
you and the creditor of the hearing on your Reaffirmation Agreement. You must attend this hearing, at
which time the judge will review your Reaffirmation Agreement. If the judge decides that the
Reaffirmation Agreement is in your best interest, the agreement will be approved and will become
effective. However, if your Reaffirmation Agreement is for a consumer debt secured by a mortgage,
deed of trust, security deed, or other lien on your real property, like your home, you do not need to file a
motion or get court approval of your Reaffirmation Agreement.

7. What if you have questions about what a creditor can do? If you have questions about reaffirming a
debt or what the law requires, consult with the attorney who helped you negotiate this agreement. If you
do not have an attorney helping you, you may ask the judge to explain the effect of this agreement to
you at the hearing to approve the Reaffirmation Agreement. When this disclosure refers to what a
creditor “may” do, it is not giving any creditor permission to do anything. The word “may” is used to
tell you what might occur if the law permits the creditor to take the action.

B. INSTRUCTIONS

1. Review these Disclosures and carefully consider your decision to reaffirm. If you want to reaffirm,
review and complete the information contained in the Reaffirmation Agreement (Part I above). If your
case is a joint case, both spouses must sign the agreement if both are reaffirming the debt.

2. Complete the Debtor’s Statement in Support of Reaffirmation Agreement (Part II above). Be sure that
you can afford to make the payments that you are agreeing to make and that you have received a copy of
the Disclosure Statement and a completed and signed Reaffirmation Agreement.

3. Ifyou were represented by an attorney during the negotiation of your Reaffirmation Agreement, your
attorney must sign and date the Certification By Debtor’s Attorney (Part IV above).

4. You or your creditor must file with the court the original of this Reaffirmation Documents packet and a
completed Reaffirmation Agreement Cover Sheet (Official Bankruptcy Form 427).

5. Ifyou are not represented by an attorney, you must also complete and file with the court a separate
document entitled “Motion for Court Approval of Reaffirmation Agreement” unless your Reaffirmation
Agreement is for a consumer debt secured by a lien on your real property, such as your home. You can
use Form 2400B to do this.
Form 2400A, Reaffirmation Documents Page 7

C.

DEFINITIONS

“Amount Reaffirmed” means the total amount of debt that you are agreeing to pay (reaffirm) by
entering into this agreement. The total amount of debt includes any unpaid fees and costs that you are
agreeing to pay that arose on or before the date of disclosure, which is the date specified in the
Reaffirmation Agreement (Part I, Section B above). Your credit agreement may obligate you to pay
additional amounts that arise after the date of this disclosure. You should consult your credit agreement
to determine whether you are obligated to pay additional amounts that may arise after the date of this
disclosure.

“Annual Percentage Rate” means the interest rate on a loan expressed under the rules required by
federal law. The annual percentage rate (as opposed to the “stated interest rate’’) tells you the full cost
of your credit including many of the creditor’s fees and charges. You will find the annual percentage
rate for your original agreement on the disclosure statement that was given to you when the loan papers
were signed or on the monthly statements sent to you for an open end credit account such as a credit
card.

“Credit Union” means a financial institution as defined in 12 U.S.C. § 461(b)(1)(A)(iv). It is owned
and controlled by and provides financial services to its members and typically uses words like “Credit
Union” or initials like “C.U.” or “F.C.U.” in its name.
